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IN THE UNITED sTATEs DISTRICT CoURT 'F"'ED BYM£-i"~”"¢»
FOR THE wEsTERN DISTRICT 0F TENNEssEE
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CHRIS A . TERRELL,
Petitioner,

vs. No. 04-2822-D/P

T . C . OUTLAW,

Respondent.

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ORDER DENYING MOTION FOR RELIEF FROM JUDGMENT
AND
ORDER DIRECTING CLERK TO EN'I'ER JUDGMEN'I'

 

Petitioner Chris A. Terrell, Bureau of Prisons inmate
registration number 11847»064, an inmate at the Federal
Correctional Institution in Memphis, filed a prg, §g_ petition
pursuant to 28 U.S.C. § 2241 on October 13, 2004. The Court issued
an order on October 22, 2004 directing the petitioner, within
thirty (30) days, to submit an in fg;ma pauperis affidavit or pay
the five dollar ($5.00) habeas filing fee. Subsequently, on
December 30, 2004, the Court issued an order dismissing the case
for failure to prosecute. Judgment was entered on January 18, 2005.
In the meantime, on January 11, 2005, Terrell filed a motion for
relief from judgment that documented that he paid the habeas filing

fee on November 8, 2004. The Clerk had apparently neglected to

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record that payment in the docket or to attach a copy of the
receipt to the case file. Accordingly, the Court issued an order on
February 1, 2005 granting the motion for relief from judgment and
denying the petition on the merits. Terrell filed another motion
for relief from judgment, pursuant to Fed. R. Civ. P. 60(b)(6), on

February 16, 2005.1
Federal Rule of Civil Procedure 60(b) provides, in

relevant part:

On motion and upon such terms as are just, the court may
relieve a party or a party's legal representative from a
final judgment, order, or proceeding for the following
reasons: (1) mistake, inadvertence, surprise, or
excusable neglect; (2) newly discovered evidence which by
due diligence could not have been discovered in time to
move for a new trial under Rule 59(b); (3) fraud (whether
heretofore denominated intrinsic or extrinsic),
misrepresentation¢ or' other lnisconduct of an adverse
party; (4) the judgment is void; (5) the judgment has
been satisfied, released, or discharged, or a prior
judgment upon which it is based has been reversed or
otherwise vacated, or it is no longer equitable that the
judgment should have prospective application; or (6) any
other reason justifying relief from the operation of the
judgment. The motion shall be made within a reasonable

time, and for numbers (l), (2), and (3) not more than one
year after the judgment, order, or proceeding was entered
or taken.

“As a prerequisite to relief under Rule 60(b), a party
must establish that the facts of its case are within one of the
enumerated reasons contained in Rule 60(b) that warrant relief from
judgment.” Lewis v. Alexander, 987 F.2d 392, 396 (Gth Cir. 1993).

Moreover, “Rule 60(b) does not allow a defeated litigant a second

 

1 As the Clerk did not enter a new judgment, Terrell is, technically,

entitled to file a motion pursuant to Fed. R. Civ. P. 59(e).

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chance to convince the court to rule in. his or‘ her favor' by
presenting new explanations, legal theories, or proof.” Jinks v.
AlliedSignall Inc., 250 F.3d 381, 384 (6th Cir. 2001).

Although Terrell relies on Fed. R. Civ. P. 60(b)(6), the
Sixth Circuit has repeatedly emphasized that relief pursuant to

that provision is rarely appropriate:

[R]elief under Rule 60(b) is “circumscribed by public
policy favoring finality of judgments and termination of
litigation.” Waifersong Ltd. v. Classic Music Vending,
976 F.2d 290, 292 (6th Cir. 1992). This is especially
true in an application of subsection (6) of Rule 60(b),
which applies “only in exceptional or extraordinary
circumstances which are not addressed by the first five
numbered clauses of the Rule.” Olle v. Henrv & Wriqht

 

 

Corp., 910 F.2d 357, 365 (6th Cir. 1990); see also
Liljeberg v. Health Services Acquisition Corp., 486 U.S.
847, 863-64 . . . (1988). This is because “almost every

conceivable ground for relief is covered” under the other
subsections of Rule 60(b). Olle, 910 F.2d at 365; s§g
also Hopper v. Euclid Manor Nursing Home. Inc., 867 F.2d
291, 294 (6th Cir. 1989). Consequently, courts must apply
Rule 60(b)(6) relief only in “unusual and extreme
situations where principles of equity mandate relief.”
Olle, 910 F.2d at 365.

 

Blue Diamond Coal Co. v. Trustees of the UMWA Combined Benefit
§gng, 249 F.3d 519, 524 (6th Cir. 2001) (emphasis in original).
The arguments advanced by Terrell do not fit within this
framework. Instead, Terrell’s advances an argument that he is
“actually innocent” of the forty-year statutory maximum.sentence he
received for conspiring to possess methamphetamine and cocaine with
the intent to deliver, in violation of 21 U.S.C. § 846. Terrell’s
most recent argument is, in essence, a restatement of his previous

position that his sentence was imposed in violation of Apprendi v.

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New Jersey, 530 U.S. 466 (2000). Contrary to Terrell's suggestion,
the Supreme Court’s decision in Dretke v. Haley, 541 U.S. 386
(2004), did not recognize an “actual innocence” exception to
challenges to noncapital sentences. Instead, the Supreme Court held
that “a federal court faced with allegations of actual innocence,
whether of the sentence or of the crime charged, must first address
all nondefaulted claims for comparable relief and other grounds for
cause to excuse the procedural default.” ld; at 393-94.2 Thus,
Dretke does not alter the Court’s conclusion that Terrell has no
claim of actual innocence in light of Bannerman v. Snyder, 325 F.3d
722, 724 (6th Cir. 2003).

In the alternative, Terrell asks for leave to file an
appeal in fg;ma pauperis. However, even apart from the actual
innocence issue, Terrell is plainly not entitled to habeas relief
because, for the reasons stated in the February 1, 2005 order, the
remedy pursuant to 28 U.S.C. § 2255 is not inadequate or
ineffective. Accordingly, an appeal would not be taken in good

faith and Terrell is not entitled to appeal in forma pauperis.

 

2 The procedural context of Dretke, a petition pursuant to 28 U.S.C.

§ 2254, is different than the context in this case because the petitioner in
Dretke had the right to raise the claim at issue in his § 2254 petition in the
absence of his procedural default. In this case, by contrast, for the reasons
stated in the February l, 2005 order, Terrell is not entitled to challenge the
validity of his sentence in a petition pursuant to 28 U.S.C. § 2241.

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For all the foregoing reasons, the motion for relief from
judgment is DE!NIED.3 As this case has concluded, the Clerk is
ORDERED to enter a new judgment.

IT IS SO ORDERED this é;g day Of August, 2005.

 

ITED STATES DISTRICT JUDGE

 

3 Terrell is also not entitled to relief pursuant to Fed. R. Civ. P.
59(e) because, for the reasons stated in the February 1, 2005 order, the § 2255
remedy is not “inadequate or ineffective.”

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UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CV-02822 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Chris A. Terrell
FCI-l\/[El\/[PH[S

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P.O. BOX 34550
l\/lemphis7 TN 3 8184--05 5

Honorable Bernice Donald
US DISTRICT COURT

